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                                   The Blacklist Online, LLC and
                              6
                                   Shalon Doney
                              7
                              8                                UNITED STATES DISTRICT COURT
                              9                              CENTRAL DISTRICT OF CALIFORNIA
                              10
                                    THE BLACKLIST ONLINE, LLC, a                     Case No. 22-cv-2378-DSF-MAR
                              11    Delaware limited liability complaint;
                                    SHALON DONEY, an individual,
                              12                                                     AMENDED
                                    Plaintiffs,                                      JOINT RULE 26(F) REPORT
                              13
                                    vs.                                              Hearing Date: Sept. 26, 2022
                              14                                                     Time: 11:00 AM
                                    MATTHEW WAGNER, an individual;
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                              15    ADAM CAMBELL, an individual;
    PHOENIX, AZ 85044




                              16    Defendants.
                              17
                                           Pursuant to Fed. R. Civ. P. 26(f) and the order of this Court issued on August 16, 2022
                              18
                                   (Doc. 11), the Parties respectfully submit this Joint Rule 26(f) Report.
                              19
                                           A.     Statement Of The Case
                              20
                                           Plaintiff The Blacklist Online, LLC (“TBO”) owns and operates a cannabis-related news
                              21
                                   website located at https://theblacklist.xyz and a related Instagram page located at:
                              22
                                   https://www.instagram.com/theblacklistxyz/, both of which were started in 2017. TBO owns a
                              23
                                   federally-registered trademark in the mark which contains the words “THE BLACKLIST”
                              24
                                   depicted against “two concentric circles” and a “man depicted in shadows wearing a hooded
                              25
                                   sweatshirt”. It is undisputed the sole member and manager of TBO is Plaintiff Shalon Doney
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                               1   (“Doney”).
                               2          Ms. Doney is currently married to Defendant Adam Campbell and have an active
                               3   dissolution action ongoing. Ms. Doney and Mr. Campbell were married on December 30, 2016.
                               4   Because TBO was formed during the marriage of Ms. Doney and Mr. Campbell, it is undisputed
                               5   the martial community has an interest in the company.
                               6          Mr. Campbell filed for divorce from Ms. Doney in Los Angeles County Superior Court in
                               7   mid-2020. The initial petition was dismissed when the parties reconciled, but then re-filed in
                               8   March 2021. As of the date of this report, the dissolution case remains pending with Mr.
                               9   Campbell’s Request for Order for among other things the appointment of a Forensic Accountant
                              10   set for hearing on November 17, 2022. At this time the Superior Court has not made any rulings,
                              11   temporary or otherwise, relating to the distribution or control of any property, including TBO.
                              12          Ms. Doney claims that although TBO was formed during her marriage to Mr. Campbell,
                              13   she was the sole person to manage and control the business from its inception through the present
                              14   day. For his part, Mr. Campbell disputes these allegations.
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                              15          At this point, the Court may be asking itself: “These issues all sound like they should be
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                              16   resolved as part of the pending dissolution action? Why on Earth is this case here in federal court?”
                              17          The answer to that question is as follows: Ms. Doney alleges that in early 2022, Ms. Doney
                              18   discovered that Mr. Campbell, and a third party (Defendant Matthew Wagner) were continuing to
                              19   use TBO’s registered trademark in business. Specifically, Mr. Wagner and Mr. Campbell, among
                              20   other things, were holding themselves out as the “owners” or “operators” of TheBlacklist when,
                              21   in fact, they were not.
                              22          Ms. Doney also alleges that she discovered that Mr. Campbell and/or Mr. Wagner created
                              23   at least two counterfeit social media pages using TBO’s registered trademark “THE
                              24   BLACKLIST”, both of which are shown below. Mr. Campbell alleges that those pages were
                              25   created by Ms. Doney and Mr. Campbell in advance of the launch party they were planning for
                              26   “THE BLACKLIST VERIFIED”, which was a companion business intended to work in
                              27
                              28



                                                                                    2
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                               1   conjunction with TBO. These pages are shown below
                               2         Page #1—https://www.instagram.com/theblacklistxyz_investigates/
                               3
                               4
                               5
                               6
                               7
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                               9
                              10
                              11
                              12
                              13
                              14         Page #2—https://www.instagram.com/theblacklistxyz_verified/
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                              26         Ms. Doney agrees the value of the community interest in TBO is certainly not a matter this
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                               1   Court may resolve. That is purely an issue for the family court to consider and address. At the
                               2   same time, TBO’s Complaint in this case alleges that Mr. Wagner (who is not a party to the
                               3   divorce) and Mr. Campbell have used, and are continuing to use, TBO’s registered trademark in a
                               4   manner that violates TBO’s exclusive rights to that mark.
                               5           B.      Subject Matter Jurisdiction
                               6           Ms. Doney alleges this Court has federal subject matter jurisdiction under 28 U.S.C. § 1331
                               7   because this case involves claims arising under federal law, specifically the Lanham Act, 15 U.S.C.
                               8   §§ 1114 and 1125.
                               9           Ms. Doney, of course, recognizes and agrees that some parts of this case implicate issues
                              10   of California community property law (i.e., the value of the community interest in TBO and the
                              11   ultimate disposition of that asset). Ms. Doney agrees that this Court is not the proper forum to
                              12   resolve those issues. However, Mr. Wagner and TBO are not parties to the family court proceeding.
                              13   Thus, they cannot be bound by any rulings the state court makes, nor can Mr. Wagner or any other
                              14   non-parties be ordered to cease violating TBO’s trademark rights. Those are plainly federal issues
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                              15   outside the state court’s jurisdiction.
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                              16           Accordingly, despite some admitted overlap between the state and federal cases, this Court
                              17   should not abate or delay the disposition of this action related to the federal trademark issues
                              18   simply because there is a parallel state court proceeding which involves some related issues; “The
                              19   rule that permits simultaneous litigation in state and federal court of overlapping and even identical
                              20   cases is deeply rooted in our system.” Noel v. Hall, 341 F.3d 1148, 1159 (9th Cir. 2003) (citing,
                              21   inter alia, Green v. City of Tucson, 255 F.3d 1086, 1097–98 (9th Cir. 2001) (en banc) (holding
                              22   parallel state and federal litigation is inherent in our legal system, and “the possibility of
                              23   duplicative litigation is a price of federalism”).
                              24           C.      Legal Issues
                              25           Insofar as Plaintiffs are concerned, this case is extremely simple – TBO owns a federally
                              26   registered trademark in “THE BLACKLIST”, and TBO wants to stop Defendants from infringing
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                               1   that mark. Legally, the standards in this regard are also simple and clear; to prevail on a claim of
                               2   trademark or trade name infringement under the Lanham Act or common law, a plaintiff “must
                               3   prove: (1) that it has a protectable ownership interest in the mark; and (2) that the defendant’s use
                               4   of the mark is likely to cause consumer confusion.” Network Automation, Inc. v. Advanced Sys.
                               5   Concepts, 638 F.3d 1137, 1144 (9th Cir. 2011) (quoting Dep't of Parks & Rec. v. Bazaar Del
                               6   Mundo, Inc., 448 F.3d 1118, 1124 (9th Cir. 2006)). Plaintiffs believes both of these elements are
                               7   undisputed.
                               8              Defendants contend that they have not infringed TBO’s mark. Mr. Wagner has not held
                               9   himself out as TBO or otherwise used TBO’s mark since he stopped working for it in November
                              10   2021. However, Mr. Wagner is still sometimes referred by others in the cannabis community as
                              11   “with or from the blacklist” because he alleges he was the face of TBO while he worked there. Mr.
                              12   Campbell for his part alleges that the pages referenced above were community property pages that
                              13   Ms. Doney helped create and assigned to Mr. Campbell. At no time has Ms. Doney made a demand
                              14   or request for the community asset pages she helped create, which Mr. Campbell contends is a
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                              15   matter that should be decided by the family law court.
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                              16              Plaintiffs assert this argument is foreclosed by Cal. Fam. Code § 1100(d) which provides,
                              17   in part:
                              18              Except as provided in subdivisions (b) and (c), and in [Family Code] Section 1102,
                              19              a spouse who is operating or managing a business or an interest in a business that
                                              is all or substantially all community personal property has the primary
                              20              management and control of the business or interest. Primary management and
                                              control means that the managing spouse may act alone in all transactions but shall
                              21              give prior written notice to the other spouse of any sale, lease, exchange,
                                              encumbrance, or other disposition of all or substantially all of the personal
                              22
                                              property used in the operation of the business (including personal property used
                              23              for agricultural purposes), whether or not title to that property is held in the name
                                              of only one spouse. (emphasis added).
                              24
                                              Ms. Doney claims that she, and only she, has engaged in the “primary management and
                              25
                                   control” of TBO’s business operations from its inception through the present. If this assertion is
                              26
                                   true, then Mr. Campbell would not have authority to act on behalf of TBO, nor would he have
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                               1   authority to use TBO’s marks, or to authorize anyone else to do so.
                               2           D.     Parties, Evidence, Etc.
                               3           The parties to this action are:
                               4           -THE BLACKLIST ONLINE, LLC, a Delaware limited liability company;
                               5           -SHALON DONEY, an individual;
                               6           -ADAM CAMPBELL, an individual;
                               7           -MATT WAGNER, an individual
                               8           The evidence will consist of corporate documents from TBO which are controlled by Ms.
                               9   Doney and/or other members of the LLC, TBO’s Instagram page including direct messages,
                              10   website data content, text messages, voicemails and emails among other types of digital
                              11   communication.
                              12           Defendants percipient witnesses shall include Khaled Azar, Dallas Imbimbo, and other
                              13   individuals who Defendants allege have or had an ownership interests in TBO.
                              14           E.     Damages
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                              15           At this time, Plaintiffs are not seeking any monetary damages. Rather, Plaintiffs merely
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                              16   seek to prevent Defendants from using TBO’s marks without permission.
                              17           Defendant Campbell believes damage related claims will be resolved in the Family Law
                              18   case and that this court is not the proper court for that determination.
                              19           Defendant Wagner in the declaratory relief portion of the case does have a potential claim
                              20   for damages based on the value of TBO. At this time the realistic range of provable damages is
                              21   difficult to ascertain without some initial discovery.
                              22           F.     Insurance
                              23           The parties are not aware of any insurance that would apply to any claims/issues in this
                              24   case.
                              25           G.     Motions
                              26           Defendant Campbell intends to file a motion to stay this action pending resolution of the
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                              28



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                               1   family law matter.
                               2          H.      Status of Discovery
                               3          Discovery in this matter has not yet started. Defendant Campbell’s responsive pleading
                               4   will be filed before the scheduling conference. Counsel are in regular communication and do not
                               5   anticipate any discovery issues in this case.
                               6          I.      Discovery Plan
                               7          Defendants intend to take the depositions of Ms. Doney, Mr. Azar, and Mr. Imbimbo before
                               8   the middle of 2023.
                               9          Defendants also intend to send requests for production of documents to TBO and Ms.
                              10   Doney related to her claims of sole management and operation of TBO since its inception, Mr.
                              11   Wagner’s roles within TBO, the creation of TBO and Mr. Campbell’s role in its creation,
                              12   management, and operation. Defendant intends to send those requests by the end of September.
                              13   After reviewing the produced documents, Defendants intent to send requests for admissions to
                              14   TBO and Ms. Doney.
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                              15          J.      Discovery Cut-off
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                              16          Defendants believe a discovery cut-off date late 2023 is reasonable.
                              17          K.      Expert Discovery
                              18          The parties do not anticipate the need for any experts.
                              19          L.      Dispositive Motions
                              20          The parties do not intend to file any dispositive motions.
                              21          M.      ADR/Settlement Discussions
                              22          The parties are amenable to participating in one or more settlement conferences before a
                              23   United States Magistrate Judge.
                              24          N.      Trial Estimate
                              25          Plaintiffs currently estimate the trial of this matter will last no more than one court day.
                              26          Defendants believe this is a short trial, but not one that can be completed in one court day.
                              27
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                               1   Rather, defendants believe a 3 day estimate is more reasonable.
                               2           O.      Lead Trial Counsel
                               3           For Plaintiffs: David S. Gingras, Esq.
                               4           For Defendants: Daniel S. Miller, Esq.
                               5           P.      Independent Expert or Master
                               6           The parties do not anticipate the need for any independent expert or master.
                               7           Q.      Timetable
                               8           The parties agree to the timelines set forth on the court’s website and attach a timetable as
                               9   exhibit 1 to this filing.
                              10           R.      Magistrate Judge
                              11           The parties are amenable to this matter being heard by a United States Magistrate Judge
                              12   for all purposes.
                              13           S.      Class Actions
                              14           This is not a class action.
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                              15           T.      Other Issues
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                              16           None at this time.
                              17          DATED: September 22, 2022.                GINGRAS LAW OFFICE, PLLC
                              18
                              19
                                                                                 David S. Gingras, Esq.
                              20                                                 Attorney for Plaintiffs

                              21
                                           DATED: September 22, 2022             LAW OFFICE OF DANIEL S. MILLER
                              22
                              23
                                                                                 Daniel S. Miller, Esq.
                              24                                                 Attorney for Plaintiffs

                              25
                              26
                              27
                              28



                                                                                      8
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                                  SCHEDULE OF PRETRIAL AND TRIAL DATES
CASE NAME:                     The Blacklist Online, LLC v. Matthew Wagner, et al.
CASE NO: 22-cv-2378-DSF-MAR
Matter                                                   Time           Weeks          Plaintiff(s)   Defendant(s)        Court
                                                                        before          Request         Request           Order
                                                                         trial
Trial (jury)(court) (length ___days)   (Tuesday)        8:30 am        6/13/2023            3            3
Pretrial Conference, LR 16;                             3:00pm              4          5/13/2023      5/13/2023
Hearing on Motions in Limine     (Monday)
Trial Documents (Set Two)                                                   6
All Trials: Lodge Pretrial Conference Order, LR 16-                                    5/1/2023       5/1/2023
7; File Oppositions to Motions in Limine
Jury Trial Only: File Agreed Set of Jury Instructions
and Verdict Forms; Statement Regarding Disputed
Instructions and Verdict forms

Trial Documents (Set One)                                                   7          4/24/2023      4/24/2023
All Trials: File Memo of Contentions of Fact and
Law, LR 16-4; Exhibit & Witness Lists, LR 16-5, 6;
Status Report Regarding Settlement; Motions in
Limine (no more than five motions per side may be
filed without Court permission)
Court Trial Only: Lodge Findings of Fact and
Conclusions of Law, LR 52; File Summaries of Direct
Testimony (optional)

Last day to conduct ADR Proceeding, LR 16-15                               12          3/20/2023      3/20/2023
Last day to hear motions (except motion to amend                           14          3/6/2023       3/6/2023
pleadings or add parties and motions in limine), LR 7
(Monday)
Non-expert Discovery Cut-off                                              21+          1/23/2023      1/23/2023
Expert Disclosure (initial)                                                            N/A            N/A
Expert Disclosure (rebuttal)

Expert Discovery Cut-off                                                  21+          1/23/2023 1/23/2023
Last day to hear motion to amend pleadings or add                         32+          11/21/2023 11/21/2023
parties (Monday)



                               LR 16-15 ADR Choice:     XX   1. USMJ                                     3. Outside ADR



                                                             2. Attorney Settlement Panel




                                                                 Exhibit 1

                                                                   10
